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Zachary A. Myers fy “oy Syite: 40": IURECT: 410-209-4846
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December 31, 2018
Joseph A. Balter, Esq.
Law Office of Joseph A. Balter, LLC
Mt. Washington Mill
1340 Smith Avenue, Suite 200
Baltimore, MD 21209
410.375.7082 (phone)
443.817.0799 (fax)
joseph@josephbalterlaw.com

Re: United States v. Leon R. Harrison,
Criminal No. CCB-18-0248 (D. Md.)
Dear Counsel:

This jetter. together with ihe Seated Supplement, confirms the plea agreement (ihis
“A areement’) that has been offered to your client. Leon R. Harrison (hereinafter “Defendant”), by
the United States Attorney's Office for the District of Maryland (“this Office’). If the Defendant
accepts this offer, pleasc have the Defendant execute it in the spaces provided below. If this offer
has not been accepted by January 11, 2019, i will be deemed withdrawn. The terms of the
Agreement are as follows:

Offense of Conviction
i. The Defendant agrees to plead guilty te Count One of the Indictment, which charges the
Defendant with Sex Trafficking of a Minor, in violation of E8 ULS.C. $§ 1591(a) and (b)(2). The
Defendant admits that the Defendant is. in fact, guilty of the offense and will so advise the Court.

Elements afthe Offense

2. The elements of the offense to which the Defendant has agrecd to plead guilty, and which
this Office would prove if the casc went to Uial. are as follows: That on or about the time alleged
in the Indictment, in the District of Maryland, the Defendant:

a. knewingly recruited, enticed, harbored. transported, provided, obtained, advertised,
maintained, patronized. or soliciied a person. Girl 1:

b. had a reasonable opportunity io observe Girl |. and knew or recklessly disregarded

ihe fact that Girl | was under the age of 18:

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c. Girl | had not attained the age of 18 years;

d. The Defendant knew that Girl ] would be caused to engage in a commercial sex
act; and

€. The Defendant’s act of recruiting, enticing, harboring, transporting, providing,

obtaining, advertising, maintaining, patronizing, or soliciting was in or affecting interstate
commerce.

 

 

 

 

 

 

 

 

 

 

 

 

Penalties
3. The maximum penalties provided by statute for the offense(s) to which the Defendant is
pleading guilty are as follows:
“Counts | Statute | Minimum | Maximum | Supervised | Maximum| — Special
Prison Prison Release Fine Assessment
1 18 U.S.C. | 10 years Life Life (Mand. $250,000 35,100
§ 1591(a) Min. 5 years}
and (b)(2)
a, Prison: Ifthe Court orders a term of imprisonment, the Bureau of Prisons has sole

discretion to designate the institution at which it will be served.

b. Supervised Release: If the Court orders a term of supervised release, and the
Defendant violates the conditions of supervised release, the Court may order the Defendant
returned to custody to serve a term of imprisonment as permitted by statute, followed by an
additional term of supervised release.

C. Restitution: The Court may order the Defendant to pay restitution pursuant to
18 U.S.C. §§ 3663, 3663A, 3664, and 2259.

d. Payment: Ifa fine or restitution is imposed, it shall be payable immediately, unless
the Court orders otherwise under 18 U.S.C. § 3572(d). The Defendant may be required to pay
interest if the fine is not paid when due.

e. Forfeiture: The Court may enter an order of forfeiture of assets directly traceable
to the offense, substitute assets, and/or a money judgment equal to the value of the property subject
to forfeiture.

f. Collection of Debts: If the Court imposes a fine or restitution, this Office’s
Financial Litigation Unit will be responsible for collecting the debt. If the Court establishes a
schedule of payments, the Defendant agrees that: (1) the full amount of the fine or restitution is
nonetheless due and owing immediately; (2) the schedule of payments is merely a minimum
schedule of payments and not the only method, nor a limitation on the methods, available to the
United States to enforce the judgment; and (3) the United States may fully employ all powers to
collect on the total amount of the debt as provided by law. Until the debt is paid, the Defendant
agrees to disclose all assets in which the Defendant has any interest or over which the Defendant
exercises direct or indirect control. Until the money judgment is satisfied, the Defendant authorizes
this Office to obtain a credit report in order to evaluate the Defendant’s ability to pay, and to

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request and review the Defendant’s federal and state income tax returns. The Defendant agrees to

complete and sign a copy of IRS Form 8821 (relating to the voluntary disclosure of federal tax
return information) and a financial statement in a form provided by this Office.

g. Sex Offender Registration; The Defendant understands and agrees that, as a
consequence of the Defendant’s conviction for the crimes to which the Defendant is pleading
guilty, the Defendant will be required to register as a sex offender in the place where the Defendant
resides, is an employee, and is a student, pursuant to the Sex Offender Registration and Notification
Act (SORNA), and the laws of the state of the Defendant’s residence. Failure to do so may subject
the Defendant to new charges pursuant to 18 U.S.C. § 2250.

h. Additional Special Assessment: The Defendant must also pay an additional
special assessment of $5,000, unless the defendant is indigent, pursuant to 18 U.S.C. § 3014.

Waiver of Rights

4. The Defendant understands that by entering into this Agreement, the Defendant surrenders
certain rights as outlined below:

i, If the Defendant had pled not guilty and persisted in that plea, the Defendant would
have had the right to a speedy jury trial with the close assistance of competent counsel. That trial
could be conducted by a judge, without a jury, if the Defendant, this Office, and the Court all
agreed.

il. If the Defendant elected a jury trial, the jury would be composed of twelve
individuals selected from the community. Counsel and the Defendant would have the opportunity
to challenge prospective jurors who demonstrated bias or who were otherwise unqualified, and
would have the opportunity to strike a certain number of jurors peremptorily. All twelve jurors
would have to agree unanimously before the Defendant could be found guilty of any count. The
jury would be instructed that the Defendant was presumed to be innocent, and that presumption
could be overcome only by proof beyond a reasonable doubt.

iii. If the Defendant went to trial, the government would have the burden of proving
the Defendant guilty beyond a reasonable doubt. The Defendant would have the right to confront
and cross-examine the government’s witnesses. The Defendant would not have to present any
defense witnesses or evidence whatsoever. If the Defendant wanted to call witnesses in defense,
however, the Defendant would have the subpoena power of the Court to compel the witnesses to
attend.

iv. The Defendant would have the right to testify in the Defendant’s own defense if the
Defendant so chose, and the Defendant would have the right to refuse to testify. If the Defendant
chose not to testify, the Court could instruct the jury that they could not draw any adverse inference
from the Defendant’s decision not to testify.

v. If the Defendant were found guilty after a trial, the Defendant would have the right
to appeal the verdict and the Court’s pretrial and trial decisions on the admissibility of evidence to
see if any errors were committed which would require a new trial or dismissal of the charges. By
pleading guilty, the Defendant knowingly gives up the right to appeal the verdict and the Court’s
decisions.

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vi. By pleading guilty, the Defendant will be giving up all of these rights, except the
right, under the limited circumstances set forth in the “Waiver of Appeal” paragraph below, to
appeal the sentence. By pleading guilty, the Defendant understands that the Defendant may have
to answer the Court’s questions both about the rights being given up and about the facts of the
case. Any statements that the Defendant makes during such a hearing would not be admissible
against the Defendant during a trial except in a criminal proceeding for perjury or false statement.

Vii. If the Court accepts the Defendant’s plea of guilty, the Defendant will be giving up
the right to file and have the Court mule on pretrial motions, and there will be no further trial or
proceeding of any kind in the above-referenced criminal case, and the Court will find the
Defendant guilty.

Vill. By pleading guilty, the Defendant will also be giving up certain valuable civil rights
and may be subject to deportation or other loss of immigration status, including possible
denaturalization. The Defendant recognizes that if the Defendant is not a citizen of the United
States, or is a naturalized citizen, pleading guilty may have consequences with respect to the
Defendant’s immigration status. Under federal law, conviction for a broad range of crimes can
lead to adverse immigration consequences, including automatic removal from the United States.
Removal and other immigration consequences are the subject of a separate proceeding, however,
and the Defendant understands that no one, including the Defendant’s attorney or the Court, can
predict with certainty the effect of a conviction on immigration status. The Defendant is not relying
on any promise or belief about the immigration consequences of pleading guilty. The Defendant
nevertheless affirms that the Defendant wants to plead guilty regardless of any potential
immigration consequences.

Advisory Sentencing Guidelines Apply

5. The Defendant understands that the Court will determine a sentencing guidelines range for
this case (henceforth the “advisory guidelines range”) pursuant to the Sentencing Reform Act of
1984 at 18 U.S.C. § 3551-3742 (excepting 18 U.S.C. § 3553(b)(1) and 3742(e)) and
28 U.S.C. §§ 991 through 998. The Defendant further understands that the Court will impose a
sentence pursuant to the Sentencing Reform Act, as excised, and must take into account the
advisory guidelines range in establishing a reasonable sentence.

Factual and Advisory Guidelines Stipulation

6. This Office and the Defendant stipulate and agree to the Statement of Facts set forth in
Attachment A, which is incorporated by reference herein.

a. Base Offense Level: This Office and the Defendant further agree that the
applicable base offense level for the offense charged in Count One of the Indictment is a level 30
pursuant to United States Sentencing Guidelines (“U.S.S.G.”) §§ 2G1.3(a)(2).

b. Use of Computer: Pursuant to U.S.S.G. § 2G1.3(b)(3)(A), there is a 2-level
increase because the offense involved the use of a computer or an interactive computer service to
entice, coerce, or facilitate the travel of, the minor to engage in prohibited sexual conduct.

c. Sexual Act or Contact: Pursuant to U.S.S.G. § 2G1.3(b)(4)(A), there is a 2-level
increase because the offense involved the commission of a sexual act or sexual contact.
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d. Repeat and Dangerous Sex Offender Against Minors: Pursuant to U.S.S.G.
§ 4B1.5(b), there is a 5-level increase because the Defendant engaged in a pattem of activity
involving prohibited sexual conduct. The Defendant reserves the right to argue, pursuant to
18 U.S.C. § 3553(a), that the application of this enhancement would result in an unwarranted and
disproportionate upward adjustment of the guideline range, and that while the enhancement is not
prohibited “double-counting” under the guidelines, the Court should take into account that the
enhancement is based on the same conduct as the enhancement under U.S.S.G. § 2G1.3(b)(4)(A).

e. Acceptance of Responsibility: This Office does not oppose a two-level reduction
in the Defendant’s adjusted offense level pursuant to U.S.S.G. § 3E1.1(a), based upon the
Defendant’s apparent prompt recognition and affirmative acceptance of personal responsibility for
the Defendant’s criminal conduct. This Office agrees to make a motion pursuant to U.S.S.G.
§ 3E].1(b) for an additional one-level decrease in recognition of the Defendant’s acceptance of
personal responsibility for the Defendant’s conduct. This Office may oppose any adjustment for
acceptance of responsibility under U.S.S.G. § 3Et.1(a) and may decline to make a motion pursuant
to U.S.S.G. § 3EI.1(b), if the Defendant: (i) fails to admit each and every item in the factual
stipulation; (ii) denies involvement in the offense; (iii) gives conflicting statements about the
Defendant’s involvement in the offense; (iv) is untruthful with the Court, this Office, or the United
States Probation Office; (v) obstructs or attempts to obstruct justice prior to sentencing; (vi)
engages in any criminal conduct between the date of this Agreement and the date of sentencing;
(vii) attempts to withdraw the plea of guilty; or (viii) violates this Agreement in any way.

f. Final Adjusted Offense Level: Thus, the parties agree that, should the Defendant
receive the anticipated three-level reduction for acceptance of responsibility, the final adjusted
offense level will be level 36.

7. There is no agreement as to the Defendant’s criminal history and the Defendant
understands that the Defendant’s criminal history could alter the Defendant’s offense level.
Specifically, the Defendant understands that the Defendant’s criminal history could alter the final
offense level if the Defendant is determined to be a career offender or if the instant offense was a
part of a pattern of criminal conduct from which the Defendant derived a substantial portion of the -
Defendant’s income.

8. Other than as set forth above, no other offense characteristics, sentencing guidelines
factors, potential departures or adjustments set forth in the United States Sentencing Guidelines
are in dispute or will be raised in calculating the advisory guidelines range.

Rule 11(c\1)(C) Plea

9. The parties stipulate and agree pursuant to Federal Rule of Criminal Procedure 11(c)(1)(C)
that a total sentence of between 10 and 16 years’ imprisonment in the custody of the Bureau
of Prisons, followed by lifetime supervised release, is the appropriate disposition of this case
taking into consideration the nature and circumstances of the offense, the Defendant’s criminal
history, and all of the other factors set forth in 18 U.S.C. § 3553(a). This Agreement does not affect
the Court’s discretion to impose any lawful fine or to set any lawful conditions of probation or
supervised release. In the event that the Court rejects this Agreement, except under the
circumstances noted below, either party may elect to declare the Agreement null and void. Should
the Defendant so elect, the Defendant will be afforded the opportunity to withdraw his plea

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pursuant to the provisions of Federal Rule of Criminal Procedure 11(c)(5). The parties agree that
if the Court finds that the Defendant engaged in obstructive or unlawful behavior and/or failed to
acknowledge personal responsibility as set forth herein, neither the Court nor the Government will
be bound by the specific sentence contained in this Agreement, and the Defendant will not be able
to withdraw his plea.

Obligations of the Parties

10. At the time of sentencing, this Office and the Defendant reserve the right to advocate for a
fine considering any appropriate factors under 18 U.S.C. § 3553(a). This Office reserves the right
to bring to the Court’s attention all information with respect to the Defendant’s background,
character, and conduct that this Office deems relevant to sentencing, including the conduct that is
the subject of any counts of the Indictment. At the time of sentencing, this Office will move to
dismiss any open counts against the Defendant.

No Contact with Girl 1

11. While incarcerated and throughout the entire term of his imprisonment, the Defendant will
not make any contact, directly or indirectly, with “Girl 1,” as identified in the attached Statement
of Facts. The Defendant agrees to the entry of any Protective Order regarding any contact with
Girl. The Defendant specifically agrees that this provision shall continue following his release and
wili be part of any supervised release conditions ordered by the Court at the time of sentencing. If
the Defendant does not fulfill this provision, it will be considered a material breach of this plea
agreement, and this Office may seek to be relieved of its obligations under this agreement. The
Defendant waives and agrees to waive any right to challenge any prosecution based on the statute
of limitations or double jeopardy and knowingly and voluntarily agrees to toll the limitations
period through the end of his incarceration and supervised release.

Waiver of Appeal

12. In exchange for the concessions made by this Office and the Defendant in this Agreement,
this Office and the Defendant waive their rights to appeal as follows:

a. The Defendant knowingly waives all right, pursuant to 28 U.S.C. § 1291 or any
other statute or constitutional provision, to appeal the Defendant’s conviction on any ground
whatsoever. This includes a waiver of all right to appeal the Defendant’s conviction on the ground
that the statute(s) to which the Defendant is pleading guilty is unconstitutional, or on the ground
that the admitted conduct does not fall within the scope of the statute(s).

b. The Defendant and this Office knowingly and expressly waive all rights conferred
by 18 U.S.C. § 3742 to appeal whatever sentence is imposed (including any term of imprisonment,
fine, term of supervised release, or order of restitution) for any reason (including the establishment
of the advisory sentencing guidelines range, the determination of the Defendant’s criminal history,
the weighing of the sentencing factors, and any constitutional challenges to the calculation and
imposition of any term of imprisonment, fine, order of forfeiture, order of restitution, and term or
condition of supervised release), except as follows:

@ The Defendant reserves the right to appeal any sentence that exceeds the
statutory maximum; and

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(ii) This Office reserves the right to appeal any sentence below a statutory
minimum.

c. The Defendant waives any and all rights under the Freedom of Information Act
relating to the investigation and prosecution of the above-captioned matter and agrees not to file
any request for documents from this Office or any investigating agency.

Forfeiture

13. a The Defendant understands that the Court may enter an Order of Forfeiture as part
of the Defendant’s sentence, and that the Order of Forfeiture may include assets directly traceable
to the offense(s), substitute assets, and/or a money judgment equal to the value of the property
derived from, or otherwise involved in, the offenses.

b. Specifically, but without limitation on the government’s right to forfeit all property
subject to forfeiture as permitted by law, the Defendant agrees to forfeit to the United States all of
the Defendant's right, title, and interest in the following items that the Defendant agrees constitute
money, property, and/or assets derived from or obtained by the Defendant as a result of, or used
to facilitate the commission of, the Defendant’s illegal activities:

i. $50 in United States currency;
ii. One Samsung Galaxy Note 8, IMEI:358503084223420; and,
ili. One CoolPad 3300A, MEID (DEC): 25669154280691 1609.
c. The Defendant agrees to consent to the entry of orders of forfeiture for the property

described in the two above subparagraphs and waives the requirements of Federal Rules of
Criminal Procedure 11(b)(1)(J), 32.2 and 43(a) regarding notice of the forfeiture in the charging
instrument, advice regarding the forfeiture at the change-of-plea hearing, announcement of the
forfeiture at sentencing, and incorporation of the forfeiture in the judgment.

d. The Defendant agrees to assist fully in the forfeiture of the above property. The
Defendant agrees to disclose all assets and sources of income, to consent to all requests for access
to information related to assets and income, and to take all steps necessary to pass clear title to the
forfeited assets to the United States, including executing all documents necessary to transfer such
title, assisting in bringing any assets located outside of the United States within the jurisdiction of
the United States, and taking whatever steps are necessary to ensure that assets subject to forfeiture
are made available for forfeiture.

€. The Defendant waives all challenges to any forfeiture carried out in accordance
with this Agreement on any grounds, including any and al! constitutional, legal, equitable,
statutory, or administrative grounds brought by any means, including through direct appeal, habeas
corpus petition, or civil complaint. The Defendant will not challenge or seek review of any civil
or administrative forfeiture of any property subject to forfeiture under this Agreement, and will
not assist any third party with any challenge or review or any petition for remission of forfeiture.

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Restitution

14. The Defendant agrees to the entry of a restitution order for the full amount of the victims’
losses. The defendant agrees that, pursuant to 18 U.S.C. §§ 3663, 3663A, 3563(b)(2), 3583(d), and
2259, the Court may order restitution of the full amount of the actual, total loss caused by the
offense conduct set forth in the factual stipulation. The total amount of restitution shall be due
immediately and shall be ordered to be paid forthwith. Any payment schedule imposed by the
Court establishes only a minimum obligation. Defendant will make a good faith effort to pay any
restitution. Regardless of Defendant’s compliance, any payment schedule does not limit the United
States’ ability to collect additional amounts from Defendant through all available collection
remedies at any time. The Defendant further agrees that the Defendant will fully disclose to this
Office, the probation officer, and to the Court, subject to the penalty of perjury, all information
(including but not limited to copies of all relevant bank and financial records) regarding the current
location and prior disposition of all funds obtained as a result of the criminal conduct set forth in
the factual stipulation. The Defendant further agrees to take ali reasonable steps to retrieve or
repatriate any such funds and to make them available for restitution. If the Defendant does not
fulfill this provision, it will be considered a material breach of this Agreement, and this Office may
seek to be relieved of its obligations under this Agreement.

Defendant’s Conduct Prior to Sentencing and Breach

15. a. Between now and the date of the sentencing, the Defendant will not engage in
conduct that constitutes obstruction of justice under U.S.S.G. § 3C1.1; will not violate any federal,
state, or local law; will acknowledge guilt to the probation officer and the Court; will be truthful
in any statement to the Court, this Office, law enforcement agents, and probation officers; will
cooperate in the preparation of the presentence report; and will not move to withdraw from the
plea of guilty or from this Agreement.

db. If the Defendant engages in conduct prior to sentencing that violates the above
paragraph of this Agreement, and the Court finds a violation by a preponderance of the evidence,
then: (i) this Office will be free from its obligations under this Agreement; (ii) this Office may
make sentencing arguments and recommendations different from those set out in this Agreement,
even if the Agreement was reached pursuant to Rule 11(c)(1)(C); and (iii) in any criminal or civil
proceeding, this Office will be free to use against the Defendant all statements made by the
Defendant and any of the information or materials provided by the Defendant, including
statements, information, and materials provided pursuant to this Agreement, and statements made
during proceedings before the Court pursuant to Rule 11 of the Federal Rules of Criminal
Procedure. A determination that this Office is released from its obligations under this Agreement
will not permit the Defendant to withdraw the guilty plea. The Defendant acknowledges that the
Defendant may not withdraw the Defendant’s guilty plea—even if made pursuant to Rule
11(c)(1)(C)}—if the Court finds that the Defendant breached the Agreement. In that event, neither
the Court nor the Government will be bound by the specific sentence or sentencing range agreed
and stipulated to herein pursuant to Rule 11(c)(1)(C).

Court Not a Party

16. The Court is not a party to this Agreement. The Court has the sole discretion to decide
whether to accept the parties’ agreement pursuant to Fed. R. Crim. P. 11(c)(1)(C). Should the Court

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accept the parties’ agreement, the sentence to be imposed is within the sole discretion of the Court.
The Court is not bound by the Sentencing Guidelines stipulation in this Agreement. The Court will
determine the facts relevant to sentencing. The Court is not required to accept any recommendation
or stipulation of the parties. Should the Court reject the parties’ recommended sentencing range,
and the Defendant choose not to withdraw his plea of guilty, the Court has the power to impose a
sentence up to the maximum penalty allowed by law. If the Court makes sentencing findings
different from those stipulated in this Agreement, or if the Court imposes any sentence up to the
maximum allowed by statute, the Defendant will remain bound to fulfill all of the obligations under
this Agreement. Neither the prosecutor, defense counsel, nor the Court can make a binding
prediction, promise, or representation as to what guidelines range or sentence the Defendant will
receive. The Defendant agrees that no one has made such a binding prediction or promise.

Entire Agreement

17.‘ This letter, together with the Sealed Supplement, constitutes the complete plea agreement
in this case. This letter, together with the Sealed Supplement, supersedes any prior understandings,
promises, or conditions between this Office and the Defendant. There are no other agreements,
promises, undertakings, or understandings between the Defendant and this Office other than those
set forth in this letter and the Sealed Supplement. No changes to this Agreement will be effective
unless in writing, signed by all parties and approved by the Court.

If the Defendant fully accepts each and every term and condition of this Agreement, please
sign and have the Defendant sign the original and return it to me promptly.

Very truly yours,

Robert K. Hur
United States Attorney

Zathary A. Myers
Ray D. McKenzie

Assistant United States Attorneys

I have read this Agreement, including the Sealed Supplement, and carefully reviewed every
part of it with my attorney. I understand it and | voluntarily agree to it. Specifically, 1 have
reviewed the Factual and Advisory Guidelines Stipulation with my attorney and I do not wish to
change any part of it. I am completely satisfied with the representation of my attorney.

ZAI GY heen oef

Date Leon R. Harrison

 

I am the Defendant’s attomey. I have carefully reviewed every part of this Agreement,
including the Sealed Supplement with the Defendant. The Defendant advises me that the

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Defendant understands and accepts its terms. To my knowledge, the Defendant’s decision to enter
into this Agreement is an informed and volun

 

Date | Joseph A, Baltes, Esq.

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ATTACHMENT A
STIPULATION OF FACTS

The undersigned parties stipulate and agree that if this case had proceeded to trial, this
Office would have proven the following facts beyond a reasonable doubt. The undersigned parties
also stipulate and agree that the following facts do not encompass all of the evidence that would
have been presented had this matter proceeded to trial.

At all times relevant to the Indictment, Leon R. Harrison, age 56, born September 1962,
was a resident of the District of Columbia. As of February 2018, “Girl 1” was a resident of
Maryland, was 15 years old, and was in the tenth grade. At that time, Girl 1 resided in a therapeutic
foster case placement, a fact unknown to Harrison.

Harrison used social media platforms, such as Facebook and Tagged, to offer females
money to send him sexually explicit images, engage in sexually explicit activity with him on video
chat, and to meet with him in person to engage in commercial sex. Several Facebook users told
Harrison that they were under 18 years old, and as young as 12 years old. Harrison continued to
request that those users send him sexually explicit pictures and videos, watch him masturbate, and
meet with him in person to engage in commercial sex, even after they stated they were minors. At
least one user identifying herself as 17 years old sent Harrison sexually explicit images at his
request.

In approximately 2016, Harrison met Girl | online. Girl 1 told investigators that Harrison
engaged in commercial sex with her more than 20 times, beginning when she was approximately
13 years old. Girl 1 stated that she started meeting with Harrison when she first became involved
in commercial sex, and that she always used condoms with Harrison and other commercial sex
customers.

Harrison later admitted he began engaging in commercial sex with Girl 1 beginning in 2016
or 2017, when she would have been 13 or 14 years old. Harrison claimed that they only met on
approximately two occasions. Harrison stated that he paid Girl 1 $30 or $40 to engage in sexual
intercourse with him. Harrison engaged in commercial sex with Girl 1 with Maryland and in the
District of Columbia.

On October 9, 2017, Girl 1 reconnected with Harrison on Facebook after a period of not
communicating with each other. Between October 9, 2017, and February 7, 2018, Harrison and
Girl 1 exchanged hundreds of messages over Facebook. In the messages, Harrison repeatediy
offered to pay Girl 1 $40-$60 in exchange for having sex with him.

On February 6, 2017, Girl 1°s mother discovered the Facebook messages with Harrison
and contacted the police. That day, an undercover police detective began operating Gir] 1’s
Facebook account.

On or about February 7, 2018, Harrison continued communicating with Girl 1’s Facebook
account. Harrison stated that he would meet with Girl 1 that evening, and that he would bring
money and condoms. Harrison stated again that he would pay Girl 1 $50 to have sex with him.
Harrison made arrangements to meet with Girl 1 at a restaurant in Odenton, Maryland, to engage
in sex for $50.
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In his Facebook messages to Girl 1, Harrison stated, “I hop u know a good spot to do it at
so we don’t have to worry about the police.’ Harrison stated that he would get Girl 1 home before
1:00 a.m. because it was a “school night.” The undercover detective operating Girl 1’s account
asked Harrison if she could drive his truck because she would be 16 years old soon. Harrison
responded that she could not drive the truck because it was not his truck.

Harrison described the sex acts he wished to engage in with Girl 1, and what he wanted her
to wear when they met. Harrison also asked to engage in sexual contact with Girl 1 without a
condom.

On February 7, 2018, Harrison drove from Washington, D.C., to the Odenton, Maryland
restaurant where he was to meet Girl 1 for sex. When he arrived at the restaurant, Harrison had
condoms, $50 in cash, and two 50m! bottles of flavored vodka in his pants pockets. Harrison was
arrested in the parking lot.

Following his arrest, Harrison was interviewed by law enforcement officers. Harrison
admitted that he used his Facebook account to arrange for the planned commercial sex date with
Girl 1, and that he intended to have sex with her in the back of his rental car that night in exchange
for $50. Harrison claimed he believed Girl 1 was 17-18 years old, but later admitted he recalled
the message from Girl 1’s account before the date which stated that she was 15 years old. Harrison
also admitted that he is HIV positive, and that he does not disclose that fact to his sexual partners.

YI

Za¢hary A. Myers
Ray D. McKenzie
Assistant United States Attorneys

hen Flo ——

Leon R. Harrison
Defendant

ZOLA, Za

or ABaltey, Esq. -
Counsel for Defendant

SO STIPULATED:

 
